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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:

FUNDAMENTAL LONG TERM CARE, INC.                       Case No. 8:11-bk-22258 (MGW)

         Debtor.                                       Chapter 7

_________________________________________ /

GTCR GOLDER RAUNER, LLC; GTCR FUND
VI, L.P.; GTCR PARTNERS VI, L.P.; GTCR VI
EXECUTIVE FUND, L.P.; GTCR ASSOCIATES
VI; EDGAR D. JANNOTTA, JR.; and THI
HOLDINGS, LLC,                                         Adversary Proceeding No. ____

         Plaintiffs,

v.

BETH ANN SCHARRER, as Chapter 7 trustee;
THE ESTATE OF JUANITA AMELIA JACKSON;
THE ESTATE OF ELVIRA NUNZIATA; THE
ESTATE OF JOSEPH WEBB; THE ESTATE OF
JAMES HENRY JONES; THE ESTATE OF OPAL
LEE SASSER; and THE ESTATE OF ARLENE
ANNE TOWNSEND,

      Defendants.
_________________________________________ /

                            COMPLAINT FOR DECLARATORY
                               AND INJUNCTIVE RELIEF

         GTCR Golder Rauner, L.L.C., GTCR Fund VI, L.P., GTCR Partners VI, L.P., GTCR VI

Executive Fund, L.P., GTCR Associates VI (collectively, the “GTCR Entities”), Edgar D.

Jannotta, Jr. (“Jannotta”), and THI Holdings, LLC (“Holdings”) allege for their complaint

against the Estate of Juanita Amelia Jackson, the Estate of Elvira Nunziata, the Estate of Joseph

Webb, the Estate of James Henry Jones, the Estate of Opal Lee Sasser, and the Estate of Arlene



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Anne Townsend (collectively, the “Wilkes Claimants”), and Beth Ann Scharrer as Chapter 7

trustee (the “Trustee”) as follows:

                                      SUMMARY OF ACTION

        1.     This adversary proceeding, brought pursuant to Rules 7001(7), 7001(9), and 7065

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and 28 U.S.C. § 2201,

concerns private equity investors who lost more than $60 million in a failed nursing-home

business.

        2.     In 1998, a Chicago-based private-equity fund, GTCR Fund VI, L.P. (“Fund VI”),

and two affiliated funds, GTCR VI Executive Fund, L.P. (“GTCR Executive Fund”) and GTCR

Associates VI (collectively, the “GTCR Funds”), invested approximately $1 million in a

Maryland-based long-term care business, Trans Healthcare, Inc. (“THI”).

        3.     In 1999 and again in 2000, the GTCR Funds made additional investments of more

than $10 million each year. And in 2001, the GTCR Funds invested an additional $4 million and

loaned $4.5 million more to THI subsidiary. THI’s subsidiaries also borrowed more than $60

million from lending institutions.

        4.     Over that period, THI, managed by officers experienced in the healthcare

industry, grew rapidly, as its subsidiaries acquired nursing homes. But the business did not

perform as expected. A restatement of the company’s 2003 financial statements showed the

company had negative net income. In July 2004, THI’s institutional lenders gave notice that THI

and its subsidiaries were in default under the loan documents, and THI and its subsidiaries

entered into sixteen successive forbearance agreements with those lenders between 2004 and

2006.




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        5.     Hoping to reverse THI’s financial misfortunes, in early 2006, THI entered into a

series of simultaneous transactions that included restructuring the institutional loans and selling

its management-company subsidiary, Trans Health Management, Inc. (“THMI”), to the Debtor,

Fundamental Long Term Care, Inc. (“FLTCI”). In connection with that restructuring, the GTCR

Funds invested another $20 million in THI, through a holding company, THI Holdings, LLC.

        6.     THI’s business still did not perform, and, in 2007 and 2008, THI and its

subsidiaries sold substantially all of their assets to third parties. The GTCR Funds received no

proceeds from those sales.     In January 2009, the failing business filed for receivership in

Maryland state court, and THI has been operated, and its assets have been liquidated, by a court-

appointed receiver (the “THI Receiver”) since then. Because THI had sold THMI to the Debtor

in 2006, THMI was not a party to the receivership proceedings.

        7.     Since THI and its subsidiaries were given notice of their default under the loan

agreements in July 2004, the GTCR Funds have invested, through Holdings, more than $23

million in THI and have forgiven more than $10 million in loans to THI, and received no

payments or transfers from THI or from Holdings. And, since THI’s founding, the GTCR Funds

invested, directly or through Holdings, more than $60 million in THI, substantially all of which

they lost.

        8.     The Maryland receivership court’s order establishing the THI receivership in

January 2009 stated that all pending litigation against THI was to be stayed. At the time, the

Wilkes Claimants had pending nursing-home negligence lawsuits against THI and THMI and

numerous unrelated defendants in Florida and Pennsylvania state courts.




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        9.       Despite the Maryland receivership order staying litigation against THI, the Wilkes

Claimants persuaded state courts in Florida and Pennsylvania to permit their claims against THI

and THMI to proceed.

        10.      In 2010, the THI Receiver stopped defending THI against the Wilkes Claimants’

lawsuits.     THI, which had been defending its former subsidiary, THMI, in those lawsuits,

stopped THMI’s defense as well. Thus, most of the Wilkes Claimants obtained defaults against

THI and THMI, and some then obtained staggering judgments in empty-chair damages

proceedings, ranging from $110 million to $1.1 billion.

        11.      The Wilkes Claimants’ real strategy in pursuing these substantively baseless

judgments against the failed or defunct entities was to sue to collect from numerous entities and

individuals that had some previous connection to THMI or THI. These included, for example,

private equity investors (the GTCR Entities), lenders (General Electric Capital Corporation and

Ventas Realty, L.P.), law firms (Troutman Sanders, LLP and Concepcion, Sexton & Martinez,

P.A.), and counterparties to divestitures (including Fundamental Long Term Care Holdings,

LLC).

        12.      To that end, in 2011, certain Wilkes Claimants commenced proceedings

supplementary in Florida state court to collect alleged assets of THI and THMI purportedly in

the hands of third parties.

        13.      In Estate of Jackson v. THMI (No. 04-3229, Fla. 10th Cir. Ct.), one Wilkes

Claimant impleaded three GTCR Entities, Jannotta, and twelve other entities and individuals, to

collect on a $110 million judgment against THMI and THI, on theories that the impleaded

defendants were involved in fraudulent transfers of THMI and THI’s property, were the alter

egos of THMI and THI, and had conspired to defraud creditors from recovering THMI and



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THI’s assets. One of the core contentions in that lawsuit is that THI’s 2006 sale of THMI to the

Debtor was purportedly a fraudulent transfer.

       14.     In two other state-court lawsuits, Estate of Nunziata v. THMI (No. 05-8540, Fla.

6th Cir. Ct.) and Estate of Webb v. THI (No. 06-2418, Fla. 8th Cir. Ct.), two Wilkes Claimants

adopted a strategy of suing only one target for collection at a time, starting with Rubin Schron, a

real-estate investor. Still, in those cases, the Wilkes Claimants seek to recover the property of

THMI and THI, and advance the same theories of fraudulent transfer and conspiracy of the

purported “joint venturers” — including the GTCR Entities, Jannotta, and Holdings — to

defraud creditors of THMI and THI.

       15.     The Trustee in this bankruptcy proceeding has threatened similar claims. In

January 2013, the Trustee represented to the Court that she had already identified the factual

components of the “very real claims the Estate holds” against the Wilkes Claimants’ litigation

targets for “having ‘busted out’ THMI’s assets and operations.” ([Dkt. 16] at ¶ 6.) Then, in

April 4, 2013 correspondence, the Trustee identified the GTCR Entities, Jannotta, and Holdings

as potential defendants on avoidable transfer, fraud, aiding and abetting, and alter ego claims.

([Dkt. 771-2], Ex. 2 at 8.)

       16.     In an Opinion dated September 12, 2013, this Court addressed the Trustee’s

expected claims, stating that “[w]here the Trustee is headed with that discovery is really no

secret to anyone involved in this case: the Trustee intends on pursuing the ‘targets’ to recover

hundreds of millions of dollars (if not more than a billion dollars) that she believes belongs to the

Debtor’s chapter 7 estate…. And she has openly stated the means for accomplishing that goal—

namely, potential alter ego and fraudulent transfer claims against the ‘targets.’” (Adv. No. 12-

ap-01198 MGW, [Dkt. 65] at 5.)



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        17.     Then, on October 1, 2013, the Wilkes Claimants filed a complaint for declaratory

relief against sixteen of their state-court litigation targets, including the GTCR Entities, Jannotta,

and Holdings. In the 562-paragraph complaint, the Wilkes Claimants repeat largely the same

allegations they have made in other proceedings concerning purported fraudulent transfers, alter

egos, and conspiracies to defraud creditors of THMI and THI, seeking to hold their targets liable

for “the debts and liabilities of THI, THMI, and FLTCI,” including the default judgments against

THI and THMI. (Wilkes Compl. at 83)

        18.     Given that the Trustee has stated that she intends to pursue in this Court theories

of fraudulent transfer, alter ego, and conspiracy to defraud the creditors of THMI and THI, and

given that the Wilkes Claimants seek in various proceedings to recover the property of THMI

and THI on similar theories, the GTCR Entities, Jannotta, and Holdings seek a declaration that

they are not liable to the Trustee or to the Wilkes Claimants on these theories.

        19.     In addition, the GTCR Entities, Jannotta, and Holdings seek an injunction

prohibiting the Wilkes Claimants from proceeding with parallel state actions to collect on

judgments against THMI or THI.

                                             PARTIES

        20.     The GTCR Entities are affiliated with the Chicago-based private equity firm,

GTCR.

        21.     Plaintiff GTCR Fund VI, L.P. (“GTCR Fund VI”) is a Delaware limited

partnership with its principal place of business in Illinois. GTCR Fund VI is a private equity

fund that invests in privately held companies across a variety of industries, and was the primary

equity investor in THI and, later, in Holdings.

        22.     Plaintiff GTCR VI Executive Fund, L.P. is a Delaware limited partnership with its

principal place of business in Illinois. Plaintiff GTCR Associates VI is a Delaware general

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partnership with its principal place of business in Illinois. Through GTCR Executive Fund and

GTCR Associates VI, certain individuals invested in privately held companies alongside

Fund VI, in amounts generally proportionate to, but always less than, GTCR Fund VI’s

investments.

       23.       Plaintiff GTCR Partners VI, L.P. (“GTCR Partners VI”) is a Delaware limited

partnership with its principal place of business in Illinois. GTCR Partners VI is the general

partner of Fund VI and GTCR Executive Fund, and the managing general partner of GTCR

Associates VI.

       24.       Plaintiff GTCR Golder Rauner, L.L.C. (“GTCR Golder Rauner”) is a Delaware

limited liability company with its principal place of business in Illinois. GTCR Golder Rauner is

the general partner of GTCR Partners VI.

       25.       Plaintiff Edgar D. Jannotta, Jr. is a citizen of Wyoming. Jannotta is a former

managing principal of GTCR Golder Rauner. Jannotta served on the board of managers of

Holdings, and on the boards of directors of THI and THMI.

       26.       Plaintiff THI Holdings, LLC is a Delaware limited liability company which had

its principal place of business in Maryland. Since 2003, Holdings has been the sole shareholder

of THI.

       27.       THI is a Maryland-based company whose subsidiaries owned, operated, and

managed nursing homes. Between 2002 and March 2006, THI owned THMI, a management

company with its principal place of business in Maryland.

       28.       Defendant Beth Ann Scharrer is the Chapter 7 trustee of the Debtor, Fundamental

Long Term Care, Inc., and is a Florida resident.




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       29.       The Personal Representatives of the Estate of Juanita Amelia Jackson (“Jackson

Estate”), the Estate of Elvira Nunziata (“Nunziata Estate”), the Estate of Joseph Webb (“Webb

Estate”), the Estate of Opal Lee Sasser (“Sasser Estate”), and the Estate of Arlene Anne

Townsend (“Townsend Estate”) are all citizens of Florida.

       30.       The Personal Representative of the Estate of James Henry Jones (“Jones Estate”)

is a citizen of the Commonwealth of Pennsylvania.

                                  JURISDICTION AND VENUE

       31.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 157 and 1334 and 11 U.S.C. § 541.

       32.       This adversary is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       33.       Venue of this action in this district is proper pursuant to 28 U.S.C. § 1409.

       34.       The statutory predicates for relief requested herein are Sections 541, 362(a)(1),

362(a)(3), and 105(a) of the Bankruptcy Code, Bankruptcy Rule 7065, and the All Writs Act, 28

U.S.C. § 1651.

                                   FACTUAL BACKGROUND

A.     The GTCR Funds Invested in THI

       35.       In 1998, the GTCR Funds invested $1 million in THI, and GTCR Fund VI

became THI’s majority shareholder. In 1999, the GTCR Funds made additional investments

totaling more than $11 million. In 2000, they invested more than $10 million.

       36.       In 2001, the GTCR Funds invested $4 million into THI, and the GTCR Funds also

loaned $4.5 million to a subsidiary of THI.

       37.       In 2002, THMI was formed as a wholly owned subsidiary of THI, to provide

management services to nursing-home operators.



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       38.     By the end of 2002, THI’s subsidiaries operated or managed over 90 skilled

nursing facilities, specialty hospitals, and outpatient rehabilitation centers in twelve states.

       39.     In 2003, THI’s shareholders exchanged their shares in THI for shares in Holdings,

so that Holdings became the sole shareholder of THI.             GTCR Fund VI was the majority

unitholder of Holdings.

       40.     Exercising its rights as majority unitholder, GTCR Fund VI appointed certain

members of Holdings’ board of managers, including Jannotta. At various times, Holdings’ board

of managers included GTCR-related personnel, THI officers, and/or others with healthcare

industry experience.

       41.     As the sole owner of THI’s stock, Holdings had the right to select the members of

THI’s board of directors. In turn, as THMI’s parent, THI had the right to select the members of

THMI’s board of directors.

       42.     Exercising these rights, Holdings and THI appointed Jannotta and others,

including GTCR-related personnel, officers of THI, and others with healthcare industry

experience, to THI’s and THMI’s boards of directors.

       43.     The GTCR Funds and Jannotta did not manage the day-to-day operations of THI

and THMI.

       44.     THI and its subsidiaries, including THMI, had their own officers who were

experienced in the health care industry and were responsible for the day-to-day operations of

those businesses. THI and THMI’s management did not overlap with the management of the

GTCR Entities.




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       45.      The GTCR Funds maintained separate corporate and accounting and financial

records, had separate tax returns, and separate bank accounts from THI and THI’s subsidiaries.

When the GTCR Funds loaned funds to THI or THI’s subsidiaries, it documented those loans.

       46.      GTCR Partners VI did not manage THI or THMI’s business operations, either.

GTCR Partners VI’s connection to THI and THMI was indirect, by virtue of being the general

partner of the GTCR Funds.

       47.      Nor did GTCR Golder Rauner manage THI or THMI’s business operations.

Under a Professional Services Agreement with THI, GTCR Golder Rauner agreed to provide

THI with “financial and management consulting services.” Otherwise, GTCR Golder Rauner’s

connection to THI and THMI was indirect, as general partner of GTCR Partners.

B.     THI Holdings

       48.      In 2002, Holdings was formed to purchase certain nursing home assets from

Integrated Health Services, Inc. (“IHS”), a substantial nursing home chain that had filed for

bankruptcy protection in 2000. But, in January 2003, another entity, ABE Briarwood Corp.

(“Briarwood”), outbid Holdings for those assets.

       49.      Briarwood, however, did not operate the former IHS facilities.         Instead,

Briarwood sought to lease those assets to an affiliate of THI that would operate the former IHS

facilities. To that end, Holdings formed THI of Baltimore, Inc. (“THI of Baltimore”) on April

10, 2003. On April 11, 2003, THI of Baltimore entered into an agreement with Briarwood,

pursuant to which the subsidiaries of THI of Baltimore would lease and operate the former IHS

nursing homes.

       50.      Holdings was a holding company. It did not manage THI or THMI’s day-to-day

operations, and did not own or operate any nursing home facilities. Holdings held board of



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managers meetings, prepared board consents and board minutes, filed its own tax returns, and

maintained other corporate formalities, separate from THI and THMI.

C.     THI’s Financial Performance Declined

       51.       THI’s financial performance was initially promising. In each of its first few

years, consolidated financial statements for THI and its subsidiaries showed their consolidated

net income was rising. For 2002, THI and its subsidiaries reported consolidated net revenue of

$185.6 million and consolidated net income of $5.5 million.

       52.       In early 2004, however, THI restated its 2003 financial statements. THI and its

subsidiaries had reported positive net income of $9.4 million, which was restated as a net loss of

$26.6 million.

       53.       By July 2004, THI’s senior secured lender, General Electric Capital Corporation

(“GECC”), and its mezzanine lender, Ventas Realty, L.P., gave notice that THI and its

subsidiaries were in default on their loans. THI and its subsidiaries then entered into a series of

forbearance agreements between August 2004 and March 2006, to avoid the lenders accelerating

the loans or exercising other contractual remedies.

D.     Sale of THI of Baltimore and THMI

       54.       THI replaced its senior management, but its financial difficulties persisted. In

July 2005, THI projected a net loss of more than $17 million for the full year.

       55.       THI of Baltimore’s prospects also dimmed. In late 2004, THI of Baltimore’s

landlord, Briarwood, asserted that THI of Baltimore had breached its lease agreement. By early

2005, Briarwood threatened to declare defaults and terminate the lease agreement pursuant to

which THI of Baltimore’s subsidiaries operated the former IHS properties. Because THI of




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Baltimore’s subsidiaries did not operate any other properties, Briarwood’s termination of the

lease agreement would have rendered THI of Baltimore essentially worthless.

        56.      On June 1, 2005, an individual affiliated with Briarwood made a proposal for the

purchase of THI of Baltimore in a transaction that would require the buyer to pay little or no cash

up front. Negotiations ensued and, by August 2005, the offer was increased to $8 million cash.

In September 2005, the offer was again increased -- to $8 million cash and a $2 million note

payable in two years.       Those negotiations concluded with Fundamental Long Term Care

Holdings, LLC (“FLTCH”) agreeing to pay $10.2 million in cash to acquire the stock of THI of

Baltimore.

        57.      Duff & Phelps, an investment banking and financial advisory firm, evaluated the

transaction and, in March 2006, reported to Holdings’ board of managers that the transaction was

fair.

        58.      Holdings’ sale of THI of Baltimore stock to FLTCH closed on March 28, 2006.

        59.      From that sale, Holdings received $10.2 million in cash and invested $8.7 million

of these funds in THI, and used the remaining funds to pay professional fees, settle litigation,

make certain tax payments on behalf of equity holders, and purchase a directors and officers

insurance policy. Holdings did not distribute the proceeds of the THI of Baltimore sale to the

GTCR Entities or Jannotta.

        60.      The sale of THI of Baltimore did not occur in isolation, but was part of a larger

restructuring of THI’s business. The same day -- March 28, 2006 -- the Debtor, FLTCI, bought

the stock of THMI from THI for $100,000.

        61.      The subsidiaries of THI of Baltimore operated many more facilities than THI’s

subsidiaries operated. Accordingly, the sale of THI of Baltimore meant that THMI, a cost



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center, would lose a large majority of the facilities to which it provided management services,

leaving THMI with substantial excess overhead.

        62.      Neither the GTCR Entities nor Jannotta received any proceeds from THI’s sale of

THMI stock.

        63.      As part of the same restructuring, the GTCR Funds invested $20 million in cash

into THI through a newly formed holding company, Atlantic Health Holdings, LLC. The GTCR

Funds made this investment with the expectation that the restructuring would allow THI to

reestablish itself and ultimately return to profitability.

        64.      Also on March 28, 2006, the GTCR Funds contributed to Holdings promissory

notes from loans that the GTCR Funds had made to THI, with amounts then due on the notes in

excess of $10 million. The GTCR Funds received no equity in exchange for this contribution.

Holdings, in turn, contributed these notes to the capital of THI.

        65.      At bottom, the GTCR Funds and Jannotta did not receive any proceeds from the

2006 sales of THMI and THI of Baltimore. Nor did GTCR Partners VI or GTCR Golder Rauner

receive any sale proceeds. To the contrary, the GTCR Funds collectively invested more than

$30 million into THI, through THI Holdings and Atlantic Health Holdings, LLC, and by

forgiving debts owed by THI.

E.      THI’s Financial Performance Did Not Improve

        66.      Despite an infusion of nearly $9 million of cash from Holdings’ sale of THI of

Baltimore, $20 million of cash from the GTCR Funds, and the forgiveness of more than

$10 million that THI owed the GTCR Funds, THI’s business did not meaningfully turn around.

By May 2007, THI lender GECC notified THI and its subsidiaries that they were again in default




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under the loan agreement, and THI and its subsidiaries entered into a new forbearance agreement

with the lender on June 1, 2007.

        67.      In 2007, THI and its subsidiaries began to sell their assets. In August 2007, THI’s

subsidiaries sold two Ohio facilities for approximately $5 million. And, in February 2008, THI

and its subsidiaries agreed to sell the remaining facilities to OHI Acquisition Co. 1, LLC

(“Omega”).

        68.      Duff & Phelps again provided THI’s board of directors a fairness opinion on the

Omega transaction, stating that “the consideration to be received by the Transferors in the

Proposed Transaction is fair, from a financial point of view to the Company [Holdings] and

THI.”

        69.      The Omega sale transaction closed on April 18, 2008. The GTCR Entities,

Jannotta, and Holdings did not receive proceeds from these or any other sales of THI property.

F.      THI Entered Receivership in Maryland State Court in 2009

        70.      The February 2008 sale agreement gave Omega and its affiliates the option to

purchase a facility owned by a THI subsidiary located in Maryland (the “Northwest Facility”).

In November 2008, Omega and its affiliates notified THI that they would not exercise their

option to purchase the Northwest Facility.

        71.      THI filed an emergency petition for the appointment of a receiver in Maryland

state court on January 7, 2009. The petition explained that THI and its subsidiaries believed the

immediate appointment of a receiver was “necessary to sustain operations at the Northwest

Facility . . . and therefore ensure continuing patient care” and would be “the most cost-effective

method of preserving the value of the THI Entities’ assets, including but not limited to the

Northwest Facility, and maximizing the return to the THI Entities’ creditors.”



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        72.      On January 9, 2009, the Maryland court entered an order granting the receivership

petition. In its order, the court appointed a receiver to wind up THI and its subsidiaries’ affairs

and to dissolve their corporations and limited liability companies. The order vested the THI

Receiver with “full title to all the assets of the THI Entities,” “full power to enforce obligations

or liabilities in its favor,” and “the power and authority to take any and all actions in lieu of, and

as would otherwise be taken by, the officers and directors of the THI Entities without further

court order.”

G.      The Wilkes Claimants Obtain Default Judgments Against THMI and THI

        73.      Beginning in 2004 and continuing through 2009, Wilkes & McHugh pursued

lawsuits on behalf of the Wilkes Claimants alleging nursing-home negligence, personal injury,

and/or wrongful death against numerous defendants, including the owners and licensed operators

of facilities at issue and their corporate parents and executives.

        74.      THI and its subsidiaries did not own and were not the licensed operators of those

facilities.   THI’s connection to the facilities was through its ownership of THMI, which

contracted to provide management services at the facilities until 2004.

        75.      Nevertheless, the Jackson, Jones, Sasser, Townsend, and Webb Estates sued

THMI and THI; and the Nunziata Estate sued THMI.

        76.      Initially, THI defended itself and its former subsidiary, THMI, in these lawsuits.

But in or about April 2010, the THI Receiver stopped providing a defense for THI and THMI in

the lawsuits in which it was permitted by the trial court to withdraw its representation (except for

one in which the trial court denied a motion by THI and THMI’s counsel to withdraw). As a

result, the Wilkes Claimants ultimately obtained staggering, empty-chair judgments against

THMI and, in most cases, also against THI.



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        77.      In these cases, the Wilkes Claimants apparently settled with the other defendants,

including the owners and licensed operators of the nursing homes at issue. For example, the

Webb Estate settled with all defendants other than THI and THMI -- including the owner of the

nursing home, the licensed operator, and the management companies that operated the nursing

home during Joseph Webb’s residency -- for $575,000 in September 2009. The Nunziata Estate

likewise settled with the licensed operator of the nursing home for $1.5 million in September

2006.

        78.      In empty-chair jury trials on damages, the Jackson, Nunziata, and Webb Estates

obtained judgments against THI and/or THMI totaling $110 million, $200 million, and

$900 million, respectively.

        79.      After obtaining a default on liability, the Townsend Estate obtained a $1.1 billion

judgment against THI.

        80.      Thus, four of the Wilkes Claimants, after obtaining defaults, have obtained

judgments against THI and/or THMI totaling over $2.3 billion. None of the Wilkes Claimants’

liability claims against THI or THMI has ever been tested on the merits in a contested

proceeding.

H.      The Wilkes Claimants Attempt To Collect From the GTCR Entities, Jannotta,
        Holdings, and Other Targets

        81.      Because THMI was defunct and the Wilkes Claimants (other than the Jones

Estate) had not filed proofs of claim in the THI receivership court, the Wilkes Claimants’ goal in

obtaining empty-chair judgments against THMI and THI was to try to enforce those judgments

against individuals and entities that were not parties to the underlying state-court lawsuits.

        82.      The Wilkes Claimants have followed four routes in attempting to collect against

their real targets: (1) initiating proceedings supplementary pursuant to Fla. Stat. § 56.29


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(“Section 56.29 proceedings supplementary”) in Florida state court, (2) attempting to buy from

THI any potential claims it might have had against any Wilkes targets, (3) pursuing civil rights

and conspiracy lawsuits in federal district court, and (4) simply amending a post-trial judgment

in Florida state court to add the Wilkes litigation targets.

       1)       Section 56.29 Proceedings Supplementary in Florida State Court

       83.      In May 2011, the Jackson Estate commenced Section 56.29 proceedings

supplementary against a total of sixteen impleaded defendants, including GTCR Fund VI, GTCR

Partners VI, GTCR Golder Rauner, and Jannotta, to collect its $110 million judgment against

THI and THMI. In that lawsuit, the Jackson Estate contends that the impleaded defendants are

liable for those judgments based on theories that the impleaded defendants fraudulently

transferred THI and THMI’s property, conspired to defraud the creditors of THI and THMI, and

are alter egos of THI and THMI. The Jackson Estate’s Section 56.29 proceedings supplementary

remain pending.

       84.      In August 2012, the Nunziata Estate commenced Section 56.29 proceedings

supplementary against one target, Rubin Schron, in an effort to collect its $200 million judgment

against THMI. Like the Jackson Estate, the Nunziata Estate attempted to advance theories of

fraudulent transfer and conspiracy by Schron and the other “sixteen joint venturers” -- including

the GTCR Entities, Jannotta, and Holdings -- to defraud creditors of THMI and THI. That

collection proceeding remains pending.

       85.      One day after the Nunziata Estate filed its motion to implead Schron, the Webb

Estate commenced Section 56.29 proceedings supplementary against Schron, in an effort to

collect on its $900 million judgment against THMI and THI.              The Webb Estate’s motion




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replicates the Nunziata Estate’s motion to implead Schron. The Webb Estate’s Section 56.29

proceedings supplementary remain pending.

       2)       The Wilkes Claimants’ Failed Attempt to Buy THI’s Claims

       86.      In December 2011, the Wilkes Claimants approached the THI Receiver and

offered $50,000 in exchange for legal claims belonging to THI that the Wilkes Claimants could

then assert against the same targets that the Jackson Estate was suing in the Florida impleader

lawsuits. In addition, the Wilkes Claimants offered to exchange mutual releases with the THI

Receiver. Following a hearing, the Maryland court overseeing the THI receivership rejected that

proposed settlement.

       87.      The THI Receiver negotiated with certain targets of Wilkes’ state-court lawsuits

for an alternative settlement under which the THI Receiver and THI would exchange mutual

releases with the settling Wilkes Claimants’ targets; THI would assign certain claims to the

settling Wilkes Claimants’ targets; some of the settling Wilkes Claimants’ targets (not the GTCR

Entities, Jannotta, or Holdings) would make a $700,000 cash payment to the THI Receiver; and

certain other settling parties (again, not the GTCR Entities, Jannotta, or Holdings) would pay for

the THI Receiver and THI’s defense in Wilkes-related lawsuits (the “Settlement Agreement”).

       88.      The Wilkes Claimants received notice of the THI Receiver’s proposed settlement

with the Wilkes targets, and one of the Wilkes Claimants filed an objection to it. On January 26,

2012, the Maryland receivership court held an evidentiary hearing on the THI Receiver’s motion

for approval of the Settlement Agreement and the opposition filed by the Wilkes Claimant. The

Wilkes & McHugh firm participated in that hearing.

       89.      After hearing testimony from the THI Receiver, the receivership court found that

the THI Receiver had “to the best of his ability” weighed the value of the Settlement Agreement



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to the THI estate, including the “likelihood or the unlikelihood of the success of certain claims”

that might be brought against THI. The receivership court also found that the THI Receiver had

acted “in the best interests” of THI in entering the Settlement Agreement. The receivership court

then approved the Settlement Agreement over the Wilkes Claimant’s objection. The Wilkes

Claimants did not appeal the receivership court’s order approving the Settlement Agreement.

       3)       Civil Rights Actions in Federal District Court

       90.      On April 26, 2013, while its Section 56.29 collection proceeding remained

pending in state court, the Jackson Estate filed a complaint in the U.S. District Court for the

Middle District of Florida against nine parties, including GTCR Fund VI, GTCR Partners VI,

GTCR Golder Rauner, and many of the other entities that the Jackson Estate had impleaded in its

state-court Section 56.29 proceedings supplementary.

       91.      In this federal lawsuit, the Jackson Estate purported to assert a civil-rights claim

under Section 1983 and a claim for civil conspiracy. The conspiracy claim is predicated on the

same theories of fraudulent transfer of THI and THMI property and of conspiracy to defraud THI

and THMI’s creditors that the Jackson Estate had asserted in state court. The federal lawsuit also

makes allegations that “THI and THMI were the mere instruments and alter egos of GTCR.”

       92.      The Jackson Estate seeks to recover the same damages as in its state-court

collection proceeding: payment on the $110 million judgment against THI and THMI. The case

remains pending.

       93.      The Webb Estate asserted nearly identical claims against the same defendants, in

the U.S. District Court for the Middle District of Florida. In that case, the THI Receiver (Alan

Grochal) filed a complaint seeking a declaratory judgment against the Jackson, Townsend, and

Webb Estates. On July 8, 2013, the Webb Estate filed a counterclaim against Grochal and eight



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others, including GTCR Fund VI, GTCR Partners VI, and GTCR Golder Rauner. There, the

Webb Estate makes the same assertions about purported Section 1983 violations and

conspiracies to commit fraudulent transfers of THI and THMI property and to defraud creditors

of THI and THMI. The Webb Estate’s federal complaint also makes the same allegations that

“THI and THMI were the mere instruments and alter egos of GTCR.” And the Webb Estate

likewise seeks payment on the $900 million judgment it obtained against THI and THMI in state

court. That lawsuit remains pending.

       4)       Amended Judgment in Florida State Court

       94.      The Townsend Estate took a more direct approach to the Wilkes Claimants’

ultimate objective. Two days after the trial court entered the $1.1 billion judgment against THI,

the Townsend Estate moved to amend that judgment, requesting that the trial court add as

defendants to the judgment fifteen non-parties, including the GTCR Entities and Jannotta, on the

purported grounds that they were “real parties in interest” of THI. These non-parties never

received notice of any claims against them in the lawsuit and had no opportunity to defend

themselves.

       95.      The Townsend Estate also asked to add to the judgment Holdings, a defendant in

the same lawsuit that the trial court had severed from the trial against THI. Holdings therefore

had no opportunity to participate in the trial that resulted in the $1.1 billion verdict against THI.

       96.      The same day that the Townsend Estate submitted its motion to amend the

judgment, the trial court granted the motion and entered the amended judgment, adding all

fifteen non-parties and Holdings to the $1.1 billion judgment. The entities and individuals who

were added to the judgment promptly filed writs of prohibition, and by August 9, 2013, the

Second District Court of Appeal had stayed all proceedings in the trial court.               Writs of



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prohibition and direct appeals of the amended judgment remain pending in the Florida appellate

court.

         5)       The Wilkes Claimants Initiated an Adversary Proceeding in This Court.

         97.      On October 1, 2013, the Wilkes Claimants jointly filed a complaint for

declaratory relief in this Court.

         98.      In their complaint, the Wilkes Claimants make the same allegations they have

made in their other proceedings to collect on their judgments against THI and THMI: that the

Wilkes Claimants’ litigation targets -- including the GTCR Entities, Jannotta, and Holdings --

participated in making transfers of THMI and THI property, and conspired to defraud creditors

of THMI and THI. (See., e.g., Wilkes Compl. ¶¶ 87, 160, 162, 196, 223-26, 238, 279, 329, 340,

343, 357-59, 368, 385-86, 391, 434, 509-11, 514.)          In addition, the declaratory judgment

complaint repeats the Wilkes Claimants’ conclusory and baseless refrain that “GTCR exercised

such complete control over the THI enterprise that they are the mere alter egos of each other. The

THI enterprise became the mere instruments of GTCR.” (Id. ¶ 84; see also, e.g., id. ¶¶ 78-83,

85-90, 106, 200, 209, 212, 520-62.)

         99.      In short, the October 1, 2013 declaratory judgment complaint pieces together

allegations that the Wilkes Claimants have been making against the same defendants in other

forums.

              COUNT I -- DECLARATORY JUDGMENT REGARDING
            THE WILKES CLAIMANTS’ FRAUDULENT TRANSFER AND
          CONSPIRACY TO COMMIT FRAUDULENT TRANSFER THEORIES

         100.     The GTCR Entities, Jannotta, and Holdings repeat and reallege the allegations

contained in paragraphs 1 through 99 as though fully set forth herein.

         101.     The GTCR Entities, Jannotta, and Holdings seek a declaratory judgment that:



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               (1)    they are not liable for fraudulent transfers of property belonging to THMI
                      or THI, as the Wilkes Claimants have asserted in their state and federal
                      lawsuits and adversary proceeding against the GTCR Entities, Jannotta,
                      and/or Holdings; and

               (2)    they are not liable on a theory of conspiracy to cause fraudulent transfers
                      of THMI or THI’s property, or otherwise to delay, hinder, or defraud the
                      Wilkes Claimants, as the Wilkes Claimants have asserted in state and
                      federal lawsuits and in their October 1, 2013 declaratory judgment
                      complaint against the GTCR Entities, Jannotta, and/or Holdings.

       102.    The declaration requested deals with a present, ascertained, or ascertainable state

of facts, or a present controversy as to a state of facts, and is not sought merely as an advisory

opinion or propounded from curiosity.

       103.    There exists a real, actual, and justiciable controversy between the parties that

warrants the seeking of a declaratory judgment.

       104.    The GTCR Entities, Jannotta, and Holdings did not receive any transfers from

THMI or THI for less than reasonably equivalent value.

       105.    The GTCR Entities, Jannotta, and Holdings have not taken any action with the

actual intent to hinder, delay, or defraud any creditor of THMI or THI.

       106.    The GTCR Entities, Jannotta, and Holdings further did not enter into an

agreement with any person or entity to commit or engage in fraudulent transfers of THMI or THI

property.

                COUNT II -- DECLARATORY JUDGMENT REGARDING
                 THE WILKES CLAIMANTS’ ALTER EGO THEORIES

       107.    The GTCR Entities, Jannotta, and Holdings repeat and reallege the allegations

contained in paragraphs 1 through 99 as though fully set forth herein.

       108.    The GTCR Entities, Jannotta, and Holdings seek a declaratory judgment that they

are not liable for the debts or obligations of THMI or THI on an alter ego theory.



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       109.    The declaration requested deals with a present, ascertained, or ascertainable state

of facts, or a present controversy as to a state of facts, and is not sought merely as an advisory

opinion or propounded from curiosity.

       110.    There exists a real, actual, and justiciable controversy between the parties that

warrants the seeking of a declaratory judgment.

       111.    The GTCR Entities, Jannotta, and Holdings maintained a legal and economic

existence separate from THMI and THI.

       112.    The GTCR Entities, Jannotta, and Holdings did not manage the day-to-day

operations of THMI or THI.

       113.    To the extent, if any, that the GTCR Entities, Jannotta, and Holdings were

involved in organizing THMI or THI, they did not form those entities for a fraudulent purpose.

       114.    The GTCR Entities, Jannotta, and Holdings did not use the corporate form of THI

or THMI for an improper and fraudulent purpose.

       115.    The GTCR Entities, Jannotta, and Holdings did not own, operate, or manage,

directly or indirectly, Debtor FLTCI before or after the sale of THMI.

          COUNT III -- INJUNCTIVE RELIEF PURSUANT TO 11 U.S.C. § 105

       116.    The GTCR Entities, Jannotta, and Holdings repeat and reallege the allegations

contained in paragraphs 1 through 99 as though fully set forth herein.

       117.    Section 105 of the Bankruptcy Code generally grants bankruptcy courts broad

powers with respect to the administration of bankruptcy cases. In particular, Section 105(a)

authorizes this Court to “issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions of” the Bankruptcy Code.

       118.    The Wilkes Claimants have acknowledged in their collection proceedings,

including in their declaratory judgment action filed in this Court on October 1, 2013, that the

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assets they are seeking to recover -- under fraudulent transfer, conspiracy to defraud, and/or alter

ego theories -- are assets belonging to THMI and THI.

       119.    The claims pursued by the Wilkes Claimants in other courts are substantially the

same, if not identical to the claims belonging to the Debtor’s estate. Accordingly the Wilkes

Claimants’ lawsuits in other courts unnecessarily interfere with the Trustee’s administration of

the Debtor’s estate.

       120.    By preventing claims related to the property of THMI from being litigated outside

of this bankruptcy proceeding, the requested injunction will further the orderly liquidation of the

Debtor.

       121.    The GTCR Entities, Jannotta, Holdings, and the Debtor’s bankruptcy estate will

suffer irreparable harm absent an injunction because of the risk of inconsistent determinations if

the Wilkes Claimants are allowed to litigate the same claims in multiple courts.

       122.    The Wilkes Claimants themselves have filed their own declaratory judgment

action to bring before this Court their alter ego claims, and their related assertions of fraudulent

transfer and conspiracy to defraud.

       123.    The likelihood of irreparable harm to the Debtor’s bankruptcy estate, the GTCR

Entities, Jannotta, and Holdings here in the absence of injunctive relief far outweighs any harm

to the Wilkes Claimants.

       124.    The public interest is served by an injunction because an injunction will conserve

judicial resources by allowing the Wilkes Claimants’ claims to be heard in a single proceeding,

rather than in multiple proceedings in state and federal courts.

       125.    For these reasons, an injunction is necessary and appropriate, to allow the Court

to enforce its exclusive jurisdiction under 28 U.S.C. § 1334 and 11 U.S.C. § 541.



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       126.    This Court should apply Section 105 to enjoin and to prohibit the Wilkes

Claimants from pursuing collection proceedings against the GTCR Entities, Jannotta, or

Holdings to recover the property of THMI or THI, including the Section 56.29 post-judgment

collection proceedings that the Jackson, Nunziata, and Webb Estates are currently pursuing in

Florida state court.

           COUNT IV -- INJUNCTIVE RELIEF PURSUANT TO 11 U.S.C. § 362

       127.    The GTCR Entities, Jannotta, and Holdings repeat and reallege the allegations

contained in paragraphs 1 through 99 as though fully set forth herein.

       128.    Upon the filing of a bankruptcy petition, Section 362(a) of the Bankruptcy Code

operates as an automatic stay of, among other things, “any act to obtain possession of property of

the estate or of property from the estate or to exercise control over property of the estate.” 11

U.S.C. § 362(a)(3).

       129.    The Wilkes Claimants have acknowledged in their collection proceedings and in

their declaratory judgment action filed in this Court on October 1, 2013, that the assets they are

seeking to recover -- under fraudulent transfer, conspiracy to defraud, and/or alter ego theories --

are assets belonging to THMI and THI.

       130.    Because the claims pursued by the Wilkes Claimants in other courts are

substantially the same, if not identical, to the claims belonging to the Debtor’s estate, those

actions unnecessarily interfere with the Trustee’s administration of the Debtor’s estate.

       131.    By preventing claims related to the property of THMI from being litigated outside

of this bankruptcy proceeding, the requested injunction will further the orderly liquidation of the

Debtor.




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        132.    The GTCR Entities, Jannotta, and Holdings will suffer irreparable harm absent an

injunction because of the risk of inconsistent determinations if the Wilkes Claimants are allowed

to litigate identical claims in multiple courts.

        133.    The Wilkes Claimants have filed their own declaratory judgment action to bring

their fraudulent transfer and alter ego allegations before this Court.

        134.    The likelihood of irreparable harm to the Debtor’s bankruptcy estate, the GTCR

Entities, Jannotta, and Holdings here in the absence of injunctive relief far outweighs any harm

to the Wilkes Claimants.

        135.    The public interest would be served by an injunction because an injunction would

conserve judicial resources by allowing the Wilkes Claimants’ claims to be heard in a single

proceeding, rather than in multiple proceedings in state and federal courts.

        136.    For these reasons, an injunction is necessary to allow the Court to enforce the

automatic stay under 11 U.S.C. § 362.

        137.    This Court should apply Section 362 to enjoin and prohibit Defendants from

further pursuing proceedings against the GTCR Entities, Jannotta, and Holdings to recover the

property of THMI or THI, including the Section 56.29 post-judgment collection proceedings that

the Jackson, Nunziata, and Webb Estates are currently pursuing in Florida state court.

                                      PRAYER FOR RELIEF

        WHEREFORE, the GTCR Entities, Jannotta, and Holdings respectfully request as
        follows:

                (1)     a declaratory judgment against the Wilkes Claimants and the Trustee that
                        (i) they are not liable for fraudulent transfers of property belonging to
                        THMI or THI, as the Wilkes Claimants have asserted in their state and
                        federal lawsuits and adversary proceeding against the GTCR Entities,
                        Jannotta, and/or Holdings; and (ii) they are not liable on a theory of
                        conspiracy to cause fraudulent transfers of THMI or THI’s property, or
                        otherwise to delay, hinder, or defraud the Wilkes Claimants, as the Wilkes
                        Claimants have asserted in state and federal lawsuits and in their October

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         1, 2013 declaratory judgment complaint against the GTCR Entities,
         Jannotta, and/or Holdings;

   (2)   a declaratory judgment against the Wilkes Claimants and the Trustee that
         they are not liable for the debts or obligations of THMI or THI on an alter
         ego theory;

   (3)   an injunction, pursuant to 11 U.S.C. § 105, enjoining and prohibiting the
         Wilkes Claimants and the Trustee from pursuing state-court proceedings
         against the GTCR Entities, Jannotta, or Holdings to recover the property
         of THMI or THI, including the Section 56.29 post-judgment collection
         proceedings that the Jackson, Nunziata, and Webb Estates are currently
         pursuing in Florida state court;

   (4)   an injunction, pursuant to 11 U.S.C. § 362, enjoining and prohibiting the
         Wilkes Claimants and the Trustee from pursuing state-court proceedings
         against the GTCR Entities, Jannotta, and Holdings to recover the property
         of THMI or THI, including the Section 56.29 post-judgment collection
         proceedings that the Jackson, Nunziata, and Webb Estates are currently
         pursuing in Florida state court; and

   (5)   such other and further relief as is just and proper.




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Dated: October 7, 2013                Respectfully submitted,

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